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5
6
                        IN THE UNITED STATES DISTRICT COURT
7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,       )   CR. No. S-08-0332 GEB
10                                   )
                     Plaintiff,      )
11                                   )
                  v.                 ) ORDER GRANTING GOVERNMENT’S
12                                   ) MOTION TO DISMISS THE
     HILLARIO CARRANZA,              ) INDICTMENT
13                                   )
                      Defendant.     )
14   ________________________________)
15
16                                     O R D E R
17
18        For the reasons set forth in the motion to dismiss filed by
19   the United States, IT IS HEREBY ORDERED that:
20        The remaining counts in the Indictment in Case No. CR-S-08-
21   332 GEB as to defendant HILLARIO CARRANZA are hereby DISMISSED
22   pursuant to Federal Rule of Criminal Procedure 48(a) without
23   prejudice.
24   Dated:     November 2, 2010
25
26                                     GARLAND E. BURRELL, JR.
27                                     United States District Judge

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